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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                        *
                                                *
                v.                              *    CRIMINAL NO. RDB-21-116
                                                *
DESMOND BABLOO SINGH,                           *
                                                *
               Defendant.                       *
                                                *
                                             *******

                            MOTION TO STRIKE APPEARANCE

           Please strike the appearance of former Assistant U.S. Attorney Zachary A. Myers, in

this case as counsel for the United States of America.



                                             Respectfully submitted,

                                             Erek L. Barron
                                             United States Attorney


                                                    /S/
                                             Christopher M. Rigali
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